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 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

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ROBERT KISSINGER,                        *
                                         *           No. 17-1063V
                    Petitioner,          *           Special Master Christian J. Moran
                                         *
v.                                       *           Filed: October 13, 2021
                                         *
SECRETARY OF HEALTH                      *           Attorneys’ Fees and Costs; reasonable
AND HUMAN SERVICES,                      *           number of hours for expert’s report
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Lawrence S. Paikoff, Law Offices of Lawrence S. Paikoff, M.D., J.D., Davis, CA,
for Petitioner;
Colleen C. Hartley, United States Dep’t of Justice, Washington, DC, for
Respondent.

                      UNPUBLISHED DECISION AWARDING
                        ATTORNEYS’ FEES AND COSTS1

       On December 30, 2020, petitioner Robert Kissinger moved for final
attorneys’ fees and costs. He is awarded $89,283.74.

                                        *       *       *



       1
          Because this published decision contains a reasoned explanation for the action in this
case, the undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This posting means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), the parties have 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
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       On August 4, 2017, petitioner filed for compensation under the Nation
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 through 34.
Petitioner alleged that the tetanus-diphtheria-acellular pertussis vaccination he
received on April 5, 2016, caused him to Guillain-Barré syndrome. Petition at 1.
The parties submitted expert reports, with petitioner retaining Dr. Nizar Souayah
and respondent retaining Dr. Peter Donofrio. The parties deposed a treating
doctor. Thereafter, the parties engaged in settlement talks and on October 28,
2020, the parties filed a stipulation, which the undersigned adopted as his decision
awarding compensation on October 29, 2020. 2020 WL 6940012 (Fed. Cl. Spec.
Mstr. Oct. 29, 2020).

       On December 30, 2020, petitioner filed a motion for final attorneys’ fees and
costs (“Fees App.”). Petitioner requests attorneys’ fees of $63,094.90 and
attorneys’ costs of $34,188.84 for a total request of $97,283.74. Fees App. at 8.
Pursuant to General Order No. 9, petitioner warrants that he has not personally
incurred any costs related to the prosecution of his case. Id. Ex. 6. On December
31, 2020, respondent filed a response to petitioner’s motion. Respondent argues
that “[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role for
respondent in the resolution of a request by a petitioner for an award of attorneys’
fees and costs.” Response at 1. Respondent adds, however that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Id at 2. Additionally, he recommends “that the Court exercise its
discretion” when determining a reasonable award for attorneys’ fees and costs. Id.
at 3. Petitioner did not file a reply thereafter.

                                    *      *       *
       In this case, because petitioner was awarded compensation pursuant to a
stipulation, he is entitled to a final award of reasonable attorneys’ fees and costs.
42 U.S.C. § 300aa-15(e)(1).
       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
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required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.
       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)
      A.       Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
during this period was done outside of the District of Columbia.
       Petitioner requests the following hourly rates for the work of his counsel,
Mr. Lawrence Paikoff: $358.00 per hour for work performed in 2017, $370.00 per
hour for work performed in 2018, $378.00 per hour for work performed in 2019,
and $394.00 per hour for work performed in 2020. This is Mr. Paikoff’s second
Vaccine Program case, with the first being completed in 2000 when the parties
would customarily stipulate to an award of attorneys’ fees and costs. Thus, whether
the requested rates are reasonable for Mr. Paikoff require further discussion. The
undersigned has previously determined that attorneys who practice in Davis,
California are entitled to receive forum rates for their Vaccine Program work.
Miltenberger v. Sec’y of Health & Human Servs., No. 17-1491V, 2019 WL
7557794, at *4 (Fed. Cl. Spec. Mstr. Dec. 19, 2019).

       Mr. Paikoff has been licensed to practice law since 1997, giving him
approximately 20 years of legal experience when he began work on this case in
2017 and placing him in the range of attorneys with 20-30 years of experience on
the Office of Special Masters Attorneys’ Forum Hourly Rate Fee Schedules.2 The
rates requested for Mr. Paikoff represent the lowest rate in this experience range
for each year and upon review, the undersigned finds the hourly rates requested to
be reasonable for Mr. Paikoff’s work and shall award them herein.



      2
          The fee schedules are available at: http://www.uscfc.uscourts.gov/node/2914.

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      B.    Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       Upon review of the submitted billing records, the undersigned finds most
time billed to be reasonable. The timesheet entries are sufficiently detailed such
that the undersigned can assess their reasonableness. However, the undersigned
notes that Mr. Paikoff billed attorney rates on both paralegal tasks such as
preparing documents to be filed, and on clerical tasks such as filing those
documents. There are also some billing entries which appear to stem from Mr.
Paikoff’s overall inexperience with the Vaccine Program and more generally the
Court of Federal Claims, such as reaching out to various Court personnel which the
undersigned would not expect from a more seasoned Vaccine Program practitioner.
These issues are relatively minor however, and a reasonable reduction for them is
$1,000.00. Petitioner is therefore awarded final attorneys’ fees of $62,094.90.

      C.    Costs Incurred

      Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioner requests a total of
$34,188.84 in costs. Most of this amount is for work performed by Dr. Nizar
Souayah. The remainder is comprised of the Court’s filing fee, postage, and costs
associated with the deposition of Dr. Mohsin Kamal Ansari (travel costs, payment
for Dr. Ansari’s time, and a transcript of the deposition). Fees App. Ex. 5 at 2.

      Petitioner requests a total of $32,000.00 for the work of Dr. Souayah,
representing 64 hours billed at $500.00 per hour. Id. at 3. The undersigned has
previously found $500.00 to be a reasonable rate for Dr. Souayah’s work in the
Vaccine Program. See Gowans v. Sec’y of Health & Human Servs., No. 14-440V,
2017 WL 1842824, at *5 (Fed. Cl. Spec. Mstr. Apr. 12, 2017).


      However, the hours billed require reduction. In the undersigned’s
experience, 64 hours is a large amount of hours billed for an expert who is
experienced in the Vaccine Program to produce the work product that was
ultimately submitted. Additionally, time was billed because the undersigned noted
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that Dr. Souayah’s initial report was not detailed enough with regard to specific
citations to the medical records and the diagnostic criteria. Order, filed on February
22, 2019.

        Further complicating the undersigned’s task of determining the
reasonableness of Dr. Souayah’s hours billed is his vague billing. See Abbott v.
Sec’y of Health & Human Servs., 150 Fed. Cl. 421 (2020) (special master did not
abuse his discretion in reducing expert's number of hours by 10% due to poorly
explained activities); Lewis v. Sec’y of Health & Human Servs., 149 Fed. Cl. 308
(2020) (special master was not arbitrary in reducing number of expert's hours due
to vagueness in invoices). Although he billed for reviewing the records with
reasonable specificity, all of the time billed for actually writing the report is merely
billed as “Writing the report” without any further indication as to what portion of
the report was being written. In the undersigned’s Order Regarding Expert Reports,
it was noted that: “The expert should list separate tasks separately. A rule of thumb
is that every half hour should have a separate task, differentiated from other tasks.”
Order, Filed on October 16, 2018. When reviewing the records, Dr. Souayah
indicated specifically which records he was reviewing – thus, although it was not
broken down further, the undersigned is aware of the length and general substance
of these exhibits and can determine a reasonable amount of time for their review.
The same cannot be said for writing the report. This is especially key with an
expert like Dr. Souayah, who has authored several expert reports for petitioners
linking their vaccination to GBS. Greater specificity would alleviate any concerns
about having portions of an older report cut and pasted and presented as a new
report. Ultimately, for these reasons, the undersigned finds that a reasonable award
for Dr. Souayah’s work in the instant case is $25,000.00.
       Petitioner also requests a total of $1,125.00 for the work of Dr. Ansari,
petitioner’s treating neurologist, to testify at the deposition. Respondent did not
interpose any objection to this request. This amount represents 2.5 hours billed at
$450.00 per hour. The undersigned has previously determined that $450.00 is
within the reasonable range for the work of a neurologist in the Vaccine Program,
and there is no doubt that Dr. Ansari’s testimony played a crucial role in providing
evidence to support a diagnosis of GBS for petitioner and ultimately helping
petitioner obtain compensation. The deposition transcript also confirms 2.5 hours
of testimony from Dr. Ansari. See Petitioner’s Exhibit 51-1. Accordingly, these
costs are reasonable and shall be reimbursed.

      D.     Conclusion


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       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $89,283.74 (representing
$62,094.90 in attorneys’ fees and $27,188.84 in attorneys’ costs) as a lump sum in
the form of a check jointly payable to petitioner and his attorney, Mr. Lawrence
Paikoff.
       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.3


               IT IS SO ORDERED.


                                                            s/Christian J. Moran
                                                            Christian J. Moran
                                                            Special Master




       3
          Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing their right to seek review.

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